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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     SARAH ANDERSEN, et al.,                            Case No. 23-cv-00201-WHO (LJC)
                                                        Plaintiffs,
                                   8
                                                                                            ORDER ON ESI PROTOCOL;
                                                 v.                                         PROTECTIVE ORDER; DEPOSITION
                                   9
                                                                                            PROTOCOL
                                  10     STABILITY AI LTD., et al.,
                                                                                            Re: Dkt. Nos. 248, 249, 257
                                                        Defendants.
                                  11

                                  12
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                                  13    I.     INTRODUCTION
                                  14          Plaintiffs, a group of visual artists whose works were allegedly used to train a generative

                                  15   artificial intelligence (AI) model called Stable Diffusion, brought this putative class action on

                                  16   behalf other similarly situated artists against Defendants, five companies that created and/or used

                                  17   Stable Diffusion. Among other claims, Plaintiffs allege that Defendants have engaged in

                                  18   widespread copyright infringement. See generally ECF No. 238 (Second Amended Complaint).

                                  19   This matter was referred to the undersigned for discovery. ECF No. 250. The parties have been

                                  20   unable to agree on the terms of a stipulated electronically stored information protocol (ESI

                                  21   Protocol) and stipulated protective order (Protective Order) and have submitted competing

                                  22   proposals for both. The parties have also been unable to agree on the number of depositions of

                                  23   Defendants’ fact witnesses that Plaintiffs may conduct.

                                  24   II.    ESI PROTOCOL
                                  25          Judge Orrick’s Standing Order specifies that parties who seek an order on ESI discovery

                                  26   protocols “shall use” one of the Northern District’s models, “unless good cause exists to depart

                                  27   from the model order.” Standing Order ¶ 5. The parties have agreed to use the Northern District’s

                                  28   Model Stipulated Order Regarding Discovery of ESI (Model ESI Order) as a starting point and
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                                   1   adapt it to fit their needs but disagree about the appropriate extent of modifications. In some

                                   2   instances, Defendants have advocated for certain language from the district’s Model Stipulated

                                   3   Order re Discovery of Electronically Stored Information for Patent Litigation (Patent Model ESI

                                   4   Order). Given the nature of the lawsuit, the Court anticipates that there will be a large volume of

                                   5   ESI in diverse forms. A detailed ESI protocol, similar to what Plaintiffs have proposed, is

                                   6   warranted. See Harden v. Mendocino Coast District Hospital, 17-cv-05554, 2019 WL 4256383,

                                   7   at *1 (N.D. Cal. Sept. 9, 2019) (“[A]n ESI protocol has to be specific or it doesn’t mean

                                   8   anything.”).

                                   9          A.      Paragraphs 1 and 2
                                  10          The Court rejects Defendants’ proposed addition to Paragraphs 1 and accepts Defendants’

                                  11   proposed language to Paragraph 2 that incorporates language from this district’s Model Patent

                                  12   Order. Thus, Paragraphs 1 and 2 shall read:
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                                  13                  1. PURPOSE

                                  14                  This Order will govern discovery of electronically stored information
                                                      (“ESI”) in this case as a supplement to the Federal Rules of Civil
                                  15                  Procedure, this Court’s Guidelines for the Discovery of Electronically
                                                      Stored Information, and any other applicable orders and rules.
                                  16
                                                      2. COOPERATION
                                  17
                                                      The parties are aware of the importance the Court places on
                                  18                  cooperation and commit to cooperate in good faith throughout the
                                                      matter consistent with this Court’s Guidelines for the Discovery of
                                  19                  ESI. As in all cases, costs may be shifted for disproportionate ESI
                                                      production requests pursuant to Federal Rule of Civil Procedure 26.
                                  20                  Likewise, a party’s nonresponsive or dilatory discovery tactics are
                                                      cost-shifting considerations.
                                  21
                                              B.      Paragraph 4
                                  22
                                              The Court accepts the parties’ largely agreed upon Paragraph 4. See ECF No. 248-3 ¶ 4.
                                  23
                                       As to Defendants’ modification to Plaintiffs’ addition to Paragraph 4, the Court expects that the
                                  24
                                       “reasonable steps” the parties will take to implement litigation holds include establishing
                                  25
                                       procedures to make sure that notices of the holds are easily understood, and received by the
                                  26
                                       necessary parties and acted upon. See ECF No. 249-4 ¶ 4. Accordingly, Paragraph 4 has been
                                  27
                                       modified slightly for clarity and shall read:
                                  28
                                                      The parties have an obligation to take reasonable steps to preserve
                                                                                       2
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                                                      discoverable information in the parties’ possession, custody, or
                                   1                  control, which includes Metadata where applicable, consistent with
                                                      the Federal Rules.
                                   2
                                                      The parties that are business entities have issued, or immediately after
                                   3                  this Order has taken effect shall issue, litigation hold notices to those
                                                      internal departments, divisions, committees, teams, and individuals
                                   4                  likely to possess potentially responsive information, and to persons or
                                                      entities responsible for maintenance of non-custodial sources, likely
                                   5                  to contain potentially responsive information. These business entities
                                                      shall establish procedures, if they have not already done so, to ensure
                                   6                  that the notices are easily understood, and have been received and
                                                      appropriately acted upon.
                                   7
                                              C.      Paragraph 5 and its subparagraphs
                                   8
                                              Plaintiffs and Defendants have presented competing proposals under the headings “Search”
                                   9
                                       and “ESI Search,” respectively. Plaintiffs propose a series of five subparagraphs that address
                                  10
                                       disclosures, search methodology, search terms, hit reports, and validation. Defendants propose a
                                  11
                                       single paragraph that focuses on the selection of search terms and search strings. The Court
                                  12
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                                       adopts in part Plaintiffs’ approach because it sets parameters for a series of topics related to ESI
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                                  13
                                       search that will clarify and advance cooperation for purposes of ESI discovery.
                                  14
                                              Plaintiffs’ first proposed subparagraph, Paragraph 5.a is adopted to the extent it is
                                  15
                                       consistent with this district’s Guidelines for the Discovery of Electronically Stored Information
                                  16
                                       (ESI Guidelines). The ESI Guidelines encourage the parties to discuss certain ESI-related topics
                                  17
                                       as part of the required Rule 26(f) meet and confer conference, including the sources, scope, and
                                  18
                                       type of ESI, as well as date ranges and other details. See ESI Guideline 2.02.
                                  19
                                              Plaintiffs’ proposed Paragraph 5.a also requires the disclosure of certain preservation-
                                  20
                                       related information in writing, namely the specific reasons why categories or sources of
                                  21
                                       discoverable information have not been preserved or should not be preserved. In contrast,
                                  22
                                       Defendants’ proposed protocol does not address disclosures or discussions regarding the scope of
                                  23
                                       preservation. It is well recognized that early discussion of the scope of preservation can reduce
                                  24
                                       disputes and the need for court intervention. See Sedona Principles, Third Edition, Principle 3
                                  25
                                       (“As soon as practicable, parties should confer and seek to reach agreement regarding the
                                  26
                                       preservation and production of electronically stored information.”); Comment 3.a. (noting that
                                  27
                                       parties may seek to resolve early the identification of data sources that will be subject to
                                  28
                                                                                          3
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                                   1   preservation, and the relevant time period, among other issues). The Court modifies Paragraph 5.a

                                   2   to align it with the ESI Guidelines’ recommendations and Rule 26(b)(2)(B) of the Federal Rules of

                                   3   Civil Procedure. At the outset of the discovery process, this protocol does not require Defendants

                                   4   to detail in writing the specific reasons why categories or sources of discoverable information have

                                   5   not been preserved or should not be preserved. See ESI Guideline 2.01(e).

                                   6           The parties also disagree on the number of custodians. Plaintiffs propose that each party

                                   7   identify the twenty-four custodians believed to most likely have discoverable ESI, while

                                   8   Defendants’ counterproposal provides that “the parties will identify up to five (5) custodians

                                   9   believed to most likely have discoverable ESI.” In this action there are eight individual named

                                  10   Plaintiffs1 and multiple Defendants: Stability AI Ltd. and Stability AI, Inc. (collectively “Stability

                                  11   AI”), Midjourney, Inc., DeviantArt, Inc., and Runway AI, Inc. On one hand, given the number of

                                  12   individual named Plaintiffs, Plaintiffs’ proposal raises the prospect of a significant, perhaps
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                                  13   excessive number of custodians relative to the number and size of each Defendant and the issues

                                  14   involved in this case. At the same time, it is not clear from the record the number of employees at

                                  15   each defendant company, and whether each Defendant is a similarly sized company. On the other

                                  16   hand, Defendants’ counter proposal appears overly restrictive. To resolve the number of

                                  17   custodians, the Court directs that a Requesting Party may request up to twelve custodians per

                                  18   Producing Party. Named Plaintiffs are collectively considered a single “Requesting Party,” and

                                  19   “Producing Party.” See Nazemian v. NVIDIA, 24-cv-01454-JST, Order Regarding Discovery of

                                  20   Electronically Stored Information (Nazemian ESI Order), ECF No. 98 at 3. Stability AI Ltd. and

                                  21   Stability AI, Inc., collectively Stability AI, is considered a single Requesting and Producing Party.

                                  22           Thus, incorporating the Court’s modifications discussed above, Paragraph 5.a, regarding

                                  23   disclosures shall state:

                                  24                   Consistent with the Parties’ obligations under the Rules, the Parties
                                                       will meet and confer to plan for discovery. This will include a
                                  25                   disclosure of custodians, data sources, anticipated date ranges of
                                                       relevant documents, and categories of documents or ESI that contain
                                  26                   information relevant to this litigation.

                                  27
                                       1
                                  28    The Second Amended Complaint names ten individual Plaintiffs, though Kelly McKernan and
                                       Hawke Southworth later dismissed their claims and withdrew from the action. ECF No. 241.
                                                                                      4
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                                   1                  The Parties shall endeavor to reach an agreement regarding the data
                                                      sources subject to preservation and discovery. To advance that effort,
                                   2                  the Parties shall disclose (a) categories or sources of relevant
                                                      information that are not reasonably accessible because of undue
                                   3                  burden or cost, and (b) categories of data or sources that a party
                                                      believes could contain relevant information, but are not discoverable
                                   4                  and should not be preserved under the proportionality factors. A
                                                      Requesting Party may request up to twelve custodians per Producing
                                   5                  Party. Named Plaintiffs are collectively considered a single
                                                      “Requesting Party,” and a single “Producing Party.” Stability AI Ltd.
                                   6                  and Stability AI, Inc., collectively Stability AI, is considered a single
                                                      Requesting and a single Producing Party. The parties may jointly
                                   7                  agree to modify these limits without the Court’s leave. The Parties
                                                      may request inclusion of additional custodians as discovery
                                   8                  progresses. The Court shall consider contested requests for additional
                                                      custodians, based upon a showing of proportionality to the needs of
                                   9                  the case as that Phrase is used in Rule 26 of the Federal Rules of Civil
                                                      Procedure.
                                  10
                                              Next, Plaintiffs’ proposed Paragraph 5.b. addresses search methodology by requiring a
                                  11
                                       Producing Party to disclose certain information, namely search terms, keywords, date limitations
                                  12
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                                       and custodians, prior to using a search methodology to identify documents for production. ECF
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                                  13
                                       No. 249-4 at 4-5. Defendants’ proposed protocol does not contain an equivalent requirement. See
                                  14
                                       ECF No. 248-3 at 4. The parties, however, have agreed that in responding to a request for
                                  15
                                       production of documents under Federal Rule of Civil Procedure 34, they will “meet and confer
                                  16
                                       about methods to search ESI[.]” Id.; ECF No. 249-4 at 4.
                                  17
                                              Plaintiffs’ proposed Paragraph 5.b does not dictate what methodologies a Producing Party
                                  18
                                       must use or authorize the Requesting Party to choose the search methodolog(ies). The paragraph
                                  19
                                       contemplates that by being informed of certain aspects of the search method(s), the Requesting
                                  20
                                       Party will be able to independently evaluate the search method being used to collect ESI before it
                                  21
                                       is deployed. The mere disclosure of this information does not run afoul of the Sedona principle
                                  22
                                       observed in NuVasive, Inc. v. Alphatec Holdings, Inc., No. 18-cv-0347, 2019 WL 4934477, at *2
                                  23
                                       (S.D. Cal. Oct. 7, 2019), which recognized that the responding party is generally best situated to
                                  24
                                       evaluate procedures and methodologies appropriate for producing their own ESI. Id. The Court’s
                                  25
                                       concern, however, is that the strict timing for the disclosure—prior to a party’s use of a search
                                  26
                                       method—is an unnecessary, preemptive restraint on responding parties.
                                  27
                                              The Sedona Conference is a source for guidance related to ESI discovery, and its
                                  28
                                                                                         5
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                                   1   commentary related to this issue is nuanced. On one hand, the Sedona Conference’s Comment 6.b

                                   2   explains, “as a general matter, neither a requesting party nor the court should prescribe or detail

                                   3   the steps that a responding party must take to meet its discovery obligations, and there should be

                                   4   no discovery on discovery, absent an agreement between the parties, or specific, tangible,

                                   5   evidence-based indicia (versus general allegations of deficiencies or mere “speculation”) of a

                                   6   material failure by the responding party to meet its obligations.” The Sedona Principles, Third

                                   7   Edition: Best Practices, Recommendations & Principles for Addressing Electronic Document

                                   8   Production, 19 Sedona Conf. J. 1, 123 (2018). At the same time, the Sedona Conference and this

                                   9   district have recognized that search and retrieval parameters and techniques are appropriate topics

                                  10   for discussion at an early meet and confer session. Id. at 83; ESI Guideline 2.02 (stating that it

                                  11   may be useful for the parties to discuss, as part of their Rule 26(f) meet and confer conference

                                  12   “planned methods to identify discoverable ESI and filter out ESI that is not subject to discovery.”).
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                                  13            The Court expects cooperation relating to the search and production of ESI, and

                                  14   “[c]ooperation in reasonably limiting ESI discovery requests on the one hand, and in reasonably

                                  15   responding to ESI discovery requests on the other hand, tends to reduce litigation costs and delay.”

                                  16   ESI Guideline 1.02; see also Comment 3.b., 19 Sedona Conf. J. at 76 (“Cooperation among

                                  17   counsel can enhance the meet and confer process, reduce unnecessary delay and expense

                                  18   associated with non-merit issues, and foster the overriding objectives of Rule 1.”). Pursuant to the

                                  19   Federal Rules of Civil Procedure, the parties are required to confer on and prepare a discovery

                                  20   plan, and their conference must address ESI issues. Fed. R. Civ. P. 26(f)(3)(C). The Northern

                                  21   District’s accompanying Checklist for Rule 26(f) meet and confers regarding ESI guides the

                                  22   parties to discuss “search method(s), including specific words or phrases or other methodology,

                                  23   that will be used to identify discoverable ESI and filter out ESI that is not subject to discovery,” as

                                  24   well as the “time period during which discoverable information was most likely to have been

                                  25   created or received” and custodians.2 The Checklist does not specify “the timing of the discussion

                                  26   of the discussion about these topics, [which] may depend on the nature and complexity of the

                                  27

                                  28   2
                                           https://cand.uscourts.gov/filelibrary/1118/ESI_Checklist-12-1-2015.pdf
                                                                                          6
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                                   1   matter.”

                                   2          To strike the appropriate balance, the Court modifies Plaintiffs proposed Paragraph 5.b as

                                   3   follows:

                                   4                  At the appropriate time, a Party that intends to use or is using a search
                                                      methodology (if any) to identify documents for production, shall
                                   5                  disclose to the Requesting Party, the search terms, keywords, date
                                                      limitations, and custodians, and shall specify what custodial and non-
                                   6                  custodial sources that the search methodology will or was run against.
                                                      The custodial sources will presumptively be those identified in the
                                   7                  disclosures set forth in Paragraph 5.a. The parties shall discuss search
                                                      methods at an early meet and confer conference, including the
                                   8                  retrieval parameters identified in the preceding sentence, to engage in
                                                      meaningful cooperation that reduces the costs and risk associated with
                                   9                  ESI production.

                                  10                  While the early meet and confer conference may not entail an
                                                      exhaustive discussion of every search to be deployed, the Requesting
                                  11                  Party may, at a later point in the discovery process, request a meet and
                                                      confer to address the adequacy of a search method or search term, if
                                  12                  there is a specific, tangible concern that the Requesting Party has
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                                                      identified to the Producing Party. In such instances, the Producing
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                                  13                  Party shall provide to the Requesting Party any information that it has
                                                      not already provided that is necessary to evaluate the effectiveness of
                                  14                  the method or the search, such as the search term hit reports pursuant
                                                      to 5.d.
                                  15
                                                      At the early meet and confer conference where the parties address ESI
                                  16                  search methods, the parties shall also discuss what method(s) will be
                                                      used for documents that are reasonably believed to be responsive and
                                  17                  for which text-based search technologies are fundamentally in
                                                      effective, such as images, spreadsheets, hard copy documents, or
                                  18                  certain foreign language documents where the parties do not have
                                                      suitable search terms in such language. The Producing Party shall
                                  19                  disclose to the Requesting Party the specific method(s) it intends to
                                                      use to search for such documents, and the Requesting Party may make
                                  20                  a reasonable request for information that relates to the method(s)’
                                                      effectiveness.
                                  21
                                                      Should a Producing Party wish to use any method or methodology not
                                  22                  specifically addressed by this Order to exclude documents from any
                                                      review or production, notice to the Receiving Party must be made
                                  23                  prior to the use of any such method or methodology. If a Party intends
                                                      to use Technology Assisted Review (“TAR”) (including Continuous
                                  24                  Active Learning), the Parties will agree to a separate TAR protocol to
                                                      govern that process. If the Parties are unable to reach agreement on a
                                  25                  TAR protocol, they will submit any disputed issues to the Court or its
                                                      designee for resolution.
                                  26
                                              Plaintiffs’ proposed Paragraphs 5.c and 5.d address search terms and hit reports,
                                  27
                                       respectively. In Paragraph 5.c Plaintiffs propose that the parties shall meet and confer to discuss
                                  28
                                                                                         7
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                                   1   the Producing Party’s proposed search terms and methodology, and prior to or during such meet

                                   2   and confers, the Producing Party shall provide all associated information required by the Court.

                                   3   Defendants do not appear to object to meeting and conferring regarding search terms: they have

                                   4   agreed to meet and confer about methods to search ESI; they propose a sentence stating, “The

                                   5   Court encourages the parties to confer on a process to test the efficacy of the search terms[;]” and

                                   6   they agree that the parties may agree jointly to modify limits on the number of search terms that

                                   7   the Court may impose. Defendants appear amenable to meeting and conferring regarding the

                                   8   selection of search terms and to discuss their efficacy. For clarity, the Court adopts Plaintiff’s

                                   9   proposed language in Paragraph 5.c requiring that the parties shall meet and confer to discuss the

                                  10   Producing Party’s proposed search terms and methodology. The Court also adopts Defendant’s

                                  11   proposed language, with certain modifications, concerning the tailoring of search terms.

                                  12          The parties’ proposals diverge with respect to establishing a requirement that the
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                                  13   Producing Party provide search term hit reports in certain circumstances, and limiting the number

                                  14   of search terms. Plaintiffs’ proposed Paragraph 5.c provides that prior to or during meet and

                                  15   confers addressing search terms, “the Producing Party shall provide all associated information

                                  16   required by this Order.” The proposed Paragraph 5.b states, “At all meet and confers where the

                                  17   topic is adequacy of search terms to identify documents subject to production, the Producing Party

                                  18   shall be required to provide search term hit reports pursuant to paragraph 5.D, below.”

                                  19   Defendants’ proposed protocol does not address hit reports.

                                  20          The effectiveness of meet and confers depends on the parties’ candor, and this is especially

                                  21   true when the parties are addressing potential search terms. Defendants are evidently open to

                                  22   engaging in a process to test the efficacy of the search terms, but their proposal does not offer an

                                  23   alternative to Plaintiffs’ position that the Producing Party provide hit reports containing certain

                                  24   data points. Accordingly, the Court accepts Plaintiffs’ proposal that hit reports be provided as part

                                  25   of the meet and confer process regarding search terms.

                                  26          Turning to the number of search terms, Defendants propose that each requesting party limit

                                  27   its ESI production requests to five search terms per custodian per party—the same limited

                                  28   imposed by the Patent Model ESI Order. ECF No. 248-3 at 4. Plaintiffs do not propose to limit
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                                   1   the number of search terms that a requesting party may use. Defendants, however, have not

                                   2   persuaded the Court that the default limit imposed by the Patent Model ESI Order ought to apply

                                   3   to this case. Instead, the Court sets a limit of fifteen search terms per custodian per Party, which

                                   4   was the limit in the Nazemian ESI Order.

                                   5          In light of the Court’s determinations above, Paragraph 5.c shall read as follows:

                                   6                  Where the Parties agree that potentially responsive ESI shall be
                                                      searched using search terms, the Parties shall meet and confer to
                                   7                  discuss the Producing Party’s proposed search terms and
                                                      methodology. Prior to or during such meet and confers, the Producing
                                   8                  Party shall provide all associated information required by this Order.
                                                      At all meet and confers where the topic is adequacy of search terms
                                   9                  to identify documents subject to production, the Producing Party shall
                                                      provide search term hit reports pursuant to Paragraph 5.d, unless the
                                  10                  parties agree otherwise.

                                  11                  Each Requesting Party shall limit its ESI production requests to a total
                                                      of fifteen search terms per custodian per party. The search terms shall
                                  12                  be narrowly tailored to particular issues. Indiscriminate terms, such
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                                                      as the producing company’s name or its product name, which are
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                                  13                  inappropriate unless combined with narrowing search criteria that
                                                      sufficiently reduce the risk of overproduction. A conjunctive
                                  14                  combination of multiple words or phrases (e.g., “computer” and
                                                      “system”) narrows the search and shall count as a single search term.
                                  15                  A disjunctive combination of multiple words or phrases (e.g.,
                                                      “computer” or “system”) broadens the search, and thus each word or
                                  16                  phrase shall count as a separate search term unless they are variants
                                                      of the same word. Use of narrowing search criteria (e.g., “and,” “but
                                  17                  not,” “w/x”) is encouraged to limit the production.

                                  18                  If, after disclosure of the Producing Party’s proposed search method,
                                                      search parameters, and search terms, and after a reasonable meet-and-
                                  19                  confer process, a Requesting Party has a specific, tangible, evidence
                                                      based reason to believe that the Producing Party’s proposals regarding
                                  20                  search, retrieval, and production would result in deficiencies in
                                                      production, the Requesting Party may object to the proposal and make
                                  21                  requests for different or additional search methods, parameters, or
                                                      search terms. Such requests shall only be made after the Parties have
                                  22                  met and conferred as to the alleged deficiencies identified by the
                                                      Requesting Party. If the issue is not resolved within fourteen (14)
                                  23                  calendar days after the objection, either Party may thereafter
                                                      immediately submit the dispute to the Court or its designee for
                                  24                  resolution.

                                  25          Plaintiffs’ proposed Paragraph 5.d is adopted in full.

                                  26          Plaintiffs’ proposed Paragraph 5.e states that the parties “will meet and confer about

                                  27   methods to validate each Producing Party’s review process[.]” ECF No. 249-4 at 6. Defendants’

                                  28   proposed ESI protocol does not address validation. It is appropriate for the ESI protocol to

                                                                                         9
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                                   1   meaningfully address validation procedures, and the Court modifies Plaintiff’s proposed

                                   2   Paragraph 5.e as follows, modified from In re Social Media Adolescent Addiction, 2024 WL

                                   3   1786293, at *6-7:

                                   4                  Each Producing Party shall take reasonable steps to validate its own
                                                      review process (i.e., using quality control measures to determine
                                   5                  whether its production is missing relevant ESI or contains substantial
                                                      amounts of irrelevant ESI) and shall take necessary adjustments to its
                                   6                  process. After a Requesting Party reviews a Producing Party’s
                                                      production, the Requesting Party may request additional information
                                   7                  regarding the validation method(s) used by the Producing Party and
                                                      the Producing Party shall disclose the level of end-to-end recall (the
                                   8                  percentage of responsive documents in the collection that were
                                                      identified as responsive by the Producing Party’s methodology). If
                                   9                  there are remaining disputes after the Producing Party discloses the
                                                      level of end-to-end recall, the parties shall meet and confer in good
                                  10                  faith to resolve any remaining disputes. Such meet and confer efforts
                                                      shall include a discussion of the tool and parameters used to calculate
                                  11                  recall levels.

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                                              D.      Paragraph 6
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                                  13
                                              Plaintiffs propose adding a paragraph addressing “Enterprise messaging, mobile device
                                  14
                                       data, and other communication tools.” ECF No. 249-4 ¶ 6. The Court recognizes that the parties’
                                  15
                                       messaging platforms used during the course of business (Slack, Microsoft Teams, Telegram, etc.)
                                  16
                                       and mobile devices may contain responsive ESI and accordingly approves the addition of
                                  17
                                       Plaintiffs’ Paragraph 6. Id.
                                  18
                                              E.      Paragraph 7 and 8
                                  19
                                              The Court approves Plaintiffs’ proposed edits to Paragraph 7. ECF No. 249-4 ¶ 7. It
                                  20
                                       likewise approves the parties’ agreed-upon changes to Plaintiffs’ Paragraph 8 (Defendants’
                                  21
                                       Paragraph 7) addressing phasing ESI production. Id. ¶ 8; 248-3 ¶ 7.
                                  22
                                              F.      Paragraph 9
                                  23
                                              Plaintiffs, at Paragraph 9, and Defendants, at Paragraph 8, propose adding specifications
                                  24
                                       about deduplication. Defendants’ proposal includes more permissive language (“the Producing
                                  25
                                       Party shall take reasonable steps to produce only one such identical copy”) while Plaintiffs’
                                  26
                                       proposal is more direct (“the Producing Party shall produce only one such identical copy”) but the
                                  27
                                       proposals are otherwise the same. ECF No. 249-3 ¶ 8. The Court directs the parties to use the
                                  28
                                                                                        10
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                                   1   language in Defendants’ proposed Paragraph 8.

                                   2          G.      Paragraphs 10 and 11
                                   3          Plaintiffs propose protocols for handling embedded files (Paragraph 10). Defendants

                                   4   object to producing embedded files, asserting that such an obligation would be unduly

                                   5   burdensome. Defendants, however, do not explain why such a production would be unduly

                                   6   burdensome when embedded files are included in ESI production in several other comparable

                                   7   cases. See e.g., Nazemian ESI Order at 7-8; In re Uber Techs., Inc., Passenger Sexual Assault

                                   8   Litig., No. 23-md-03084-CRB-LJC, 2024 WL 1772832, at *6 (N.D. Cal. Apr. 23, 2024); In re

                                   9   Facebook, Inc. Consumer Priv. User Profile Litig., No. 18-md-2843 VC (JSC), 2021 WL

                                  10   10282215, at *30 (N.D. Cal. Sept. 29, 2021). The Court grants Plaintiffs’ request to add

                                  11   Paragraph 10, requiring the production of embedded files.

                                  12          Plaintiffs propose protocols for handling the production of hyperlinked documents
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                                  13   (Paragraph 11). Defendants’ arguments misapprehend Plaintiffs’ proposal. Defendants claim that

                                  14   Plaintiffs’ proposal would require the production of any hyperlinks that appear in any document or

                                  15   communication, along with metadata connecting the document in native format to the document.

                                  16   Plaintiffs, however, appear to acknowledge, to some extent, that technological limitations will

                                  17   restrict which hyperlinks may be “automatically produced,” and propose that upon a reasonable

                                  18   request by the Receiving Party, the Producing Party will produce such hyperlinked documents.

                                  19   ECF No. 249-4 at 8. In addition, Plaintiffs’ proposal calls upon the Producing Party to use

                                  20   “available technology” to match hyperlinked documents with email or familial documents, and the

                                  21   production of related metadata, e.g. BEGATTACH and ENDATTACH, would only be required

                                  22   where the technology is available to extract such information. Plaintiffs’ proposal does not appear

                                  23   as onerous as Defendants contend, though it leaves out important details, such as how many

                                  24   hyperlinks may be requested by a receiving party.

                                  25          To enhance the ESI protocol’s clarity, the Court adopts, with some modifications, the

                                  26   provisions for hyperlinks, the production of hyperlinked documents, and hyperlink metadata from

                                  27   Nazemian ESI Order at 8-9 (Section 16). Accordingly, Paragraph 11 and its subparagraphs shall

                                  28   read as follows:
                                                                                       11
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                                                  11. HYPERLINKS
                                   1              Except as provided in this paragraph and its subparagraphs, the
                                                  Producing Party shall not be required to produce documents solely
                                   2              because they are hyperlinked within the Producing Party’s
                                                  production. For purposes of this protocol, “hyperlinked documents”
                                   3              include but are not limited to documents shared via Google
                                                  Workspace, Microsoft Office’s “Share Documents via Link” feature,
                                   4              or similar cloud-based document storage and sharing platforms.
                                   5              The Parties agree to meet and confer in good faith to resolve any
                                                  disputes concerning the appropriateness of production of the
                                   6              requested documents and metadata. Nothing in this paragraph and its
                                                  subparagraphs shall prevent the Producing Party from producing
                                   7              hyperlinked documents that are relevant or responsive to discovery
                                                  requests in addition to the documents produced by specific
                                   8              request by the Receiving Party.
                                   9                       a. PRODUCTION OF HYPERLINKED DOCUMENTS
                                                  The Parties may request the production of the current version or
                                  10              contemporaneous version of a responsive and non-privileged
                                                  document or communication that is within the Producing Party’s
                                  11              possession, custody, or control and is hyperlinked within the
                                                  Producing Party’s production by providing to the Producing Party a
                                  12              list of hyperlinks and corresponding Bates numbers in which the
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                                                  hyperlinked document is referenced. If the hyperlinked document has
                                  13              already been produced, the Producing Party may alternatively provide
                                                  the Receiving Party with the document’s Bates number. Each Party
                                  14              (with Named Plaintiffs constituting a single Party, and Stability AI
                                                  entities constituting a single Party) may make up to two hundred such
                                  15              requests. The parties agree to meet and confer in good faith to resolve
                                                  any disputes concerning the appropriateness of the production of the
                                  16              requested documents and communications and any reasonable request
                                                  to increase the limit on the total number of hyperlinked documents
                                  17              and communications to be produced. If a Requesting Party believes
                                                  that more requests are warranted and the Receiving Party has not
                                  18              agreed to produce additional hyperlinked documents, the Requesting
                                                  Party may initiate the joint letter-brief process pursuant to the Court’s
                                  19              dispute resolution procedures set forth in Standing Order, Section F.5.
                                  20                       b. PRODUCTION OF HYPERLINK METADATA
                                                  The Parties acknowledge that the current version of the hyperlinked
                                  21              document (i.e., the version produced pursuant to the paragraphs
                                                  concerning hyperlinks) may differ from the version of the document
                                  22              at the time the hyperlink was sent. The Parties also acknowledge that
                                                  the metadata of such document(s) may not reflect the metadata for
                                  23              requested documents at the time the documents were hyperlinked.
                                                  For hyperlinked documents produced pursuant to these paragraphs
                                  24              concerning hyperlinks, the Producing Party will use available
                                                  technology to match hyperlinked documents with the email or
                                  25              familial document to which the documents were attached in Native
                                                  format, and the Producing Party will use available technology to
                                  26              provide the BEGATTACH and ENDATTACH metadata fields to
                                                  show the family relationship.
                                  27

                                  28
                                                                                     12
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                                              H.      Paragraph 12
                                   1
                                              At Paragraph 12, Plaintiffs propose adding specifications about how a producing party
                                   2
                                       must collect and produce structured data, including requirements that the producing party inform
                                   3
                                       the receiving party about all possible formats for the structured data, and, if parties cannot agree
                                   4
                                       on the method of production, the producing party “make the information available for inspection
                                   5
                                       on this system where it is currently maintained, or otherwise provide direct access to the data.”
                                   6
                                       ECF No. 249-4 ¶ 12. Defendants argue that such process could provide the receiving party
                                   7
                                       “unfettered access to their IT infrastructure with no specific showing of burden, need, or
                                   8
                                       proportionality[.]” ECF No. 248 at 5. Plaintiffs recognize that “it is important for the parties to
                                   9
                                       discuss at the outset how [structured data] should be handled.” ECF No. 249-1 (Saveri Decl.)
                                  10
                                       ¶ 12. It is unclear if the parties have engaged in any meaningful discussion about the production
                                  11
                                       of structured data. The parties are therefore ordered to meet and confer to develop a stipulated
                                  12
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                                       protocol for producing and reviewing structured data.
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                                  13
                                              I.      Paragraph 13
                                  14
                                              The Court accepts Plaintiffs’ addition of Paragraph 13 to the extent that Defendants have
                                  15
                                       not proposed deleting certain text. ECF Nos. 249-4 ¶ 4; 248-3 ¶ 9. The examples of how Model
                                  16
                                       Data may be produced, set forth in Plaintiffs’ proposed Paragraph 13, do not obligate Defendants
                                  17
                                       to produce Model Data in those formats and the inclusion of this sentence do not waive any
                                  18
                                       arguments Defendants might wish to make about producing Model Data. The parties may discuss
                                  19
                                       those examples during their meet and confer conference regarding model data. Paragraph 13 shall
                                  20
                                       read as follows:
                                  21
                                                      To the extent such data is not addressed in this protocol, the Parties
                                  22                  will meet and confer to address the production of data related to the
                                                      Models at issue. Given the size, structure and format of such data, the
                                  23                  Parties agree to discuss how Model Data, if any, should be produced.

                                  24          J.      Paragraphs 14 and 15

                                  25          Plaintiffs propose adding detailed specifications about what information must be included

                                  26   in privilege logs and a procedure for challenging asserted privileges. ECF No. 249-4 ¶¶ 14-15.

                                  27   The Court agrees that not establishing clear requirements for privilege logs and privilege log

                                  28   disputes at the outset of discovery will likely invite future disputes. Defendants have objected to

                                                                                         13
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                                   1   Plaintiffs’ proposed specifications for the privilege logs, but these requirements are in line with

                                   2   privilege log requirements in other cases, see e.g., Nazemian ESI Order at 9-11; In re Uber Techs.,

                                   3   Inc., Passenger Sexual Assault Litig., No. 23-md-03084-CRB-LJC, at ECF No. 396 (¶¶ 14-17),

                                   4   and Defendants fail to cite to any specific authority that discourages against these provisions. The

                                   5   Court accepts Plaintiffs’ proposal for privilege logs and the procedure for challenging asserted

                                   6   privileges at Paragraphs 14 and 15, respectively.

                                   7          K.      Paragraph 16
                                   8          The parties agree regarding “DOCUMENTS PROTECTED FROM DISCOVERY”. See

                                   9   Plaintiffs Paragraph 16, ECF No. 249-4 at 12; Defendants’ Paragraph 11, ECF No. 248-3 at 6.

                                  10          L.      Appendices
                                  11          Plaintiffs have proposed two appendices: Appendix A, which sets forth technical

                                  12   specifications for the production of ESI, and Appendix B, which addresses metadata fields.
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                                  13   Defendants object to both, though they only provide a counterproposal for metadata fields.

                                  14   Defendants make only a conclusory argument that Plaintiffs’ proposal for technical specifications

                                  15   for ESI production is onerous. Therefore, the Court adopts Plaintiffs’ proposed Appendix A, ECF

                                  16   No. 249-4 at 15-17.

                                  17          With regard to the appendix for metadata fields, given Defendants’ representation that

                                  18   complying with Plaintiffs’ proposal would require manual entry, be “technically onerous[,]” and

                                  19   likely to result in error, the Court directs the parties to use Defendants’ metadata fields. ECF Nos.

                                  20   248 at 5; 248-3 at 9-11. This ruling is made without prejudice and Plaintiffs may renew their

                                  21   request for the additional fields upon showing that their need outweighs the burden on Defendants.

                                  22   III.   PROTECTIVE ORDER
                                  23          The parties’ only outstanding dispute regarding their protective order is the definition of

                                  24   “source code.” See ECF No. 248-5 at 4. Plaintiffs define source code as “the human readable set

                                  25   of instructions written in a programming language that defines the operations of a software

                                  26   application, including the algorithms, logic, and functions that shape the program’s behavior.”

                                  27   ECF No. 249-3 § 2.18. Defendants seek to use the definition provided in the Patent Model

                                  28   Protective Order, which defines source code as “computer code and associated comments and
                                                                                         14
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                                   1   revisions histories, formulas, engineering specifications, or schematics that define or otherwise

                                   2   describe in detail the algorithms or structure of software or hardware designs, disclosure of which

                                   3   to another Party or Non-Party would create a substantial risk of serious harm that could not be

                                   4   avoided by less restrictive means.” ECF No. 248-2 § 2.9; Model Protective Order for Litigation

                                   5   Involving Patents, Highly Sensitive Confidential Information and/or Trade Secrets, U.S. District

                                   6   Court, Northern District of California, https://www.cand.uscourts.gov/forms/model-protective-

                                   7   orders/ (last visited Jan. 22, 2025). Although the parties are not required to use the Patent Model

                                   8   Protective Order definition, the Court agrees with Defendants that using the broader definition

                                   9   provided in the Patent Model Protective Order is appropriate here. See In re Meta Pixel

                                  10   Healthcare Litigation, No. 22-cv-03580, 2023 WL 3483296, at *1 (N.D. Cal. May 16, 2023)

                                  11   (adopting a definition of “source code” that “generally tracks” the language in the Patent Model

                                  12   Protective Order). The Court recognizes that “comments and revisions histories, formulas,
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                                  13   engineering specifications, or schematics” that define or describe code may be as sensitive—and

                                  14   thus warrant the same safeguards—as the code itself. ECF No. 248-2 § 2.9. The parties are

                                  15   ordered use the Patent Model Protective Order’s definition of source code.

                                  16   IV.    DEPOSITION PROTOCOL
                                  17          The parties submitted an additional dispute regarding their deposition protocol. ECF No.

                                  18   257. Plaintiffs request to conduct up to 60 depositions of Defendants’ fact witnesses. Defendants

                                  19   object, countering that each side should be entitled to take up to twelve depositions.

                                  20          Federal Rule of Civil Procedure 30(a) provides that a party may take up to ten depositions

                                  21   without leave of the court. Courts “may alter the limits … on the number of depositions …or on

                                  22   the length of depositions under Rule 30.” Fed. R. Civ. P. 26(b)(2)A). In determining whether to

                                  23   permit more than ten depositions, the court must consider “whether: (i) the discovery sought is

                                  24   unreasonably cumulative or duplicative, or is obtainable from some other source that is more

                                  25   convenient, less burdensome, or less expensive; (ii) the party seeking discovery has had ample

                                  26   opportunity by discovery in the action to obtain the information sought; or (iii) the burden or

                                  27   expense of the proposed discovery outweighs its likely benefit[.]” Authentec, Inc. v. Atrua Techs.,

                                  28   Inc., No. C 08-1423 PJH, 2008 WL 5120767, at *1 (N.D. Cal. Dec. 4, 2008). Although “courts
                                                                                        15
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                                   1   will generally not grant leave to expand the number of depositions until the moving party has

                                   2   exhausted the ten depositions permitted as of right” (id.), the Northern District regularly departs

                                   3   “from this rule where the complexity of the case clearly warranted more than ten depositions.”

                                   4   Sayce v. Forescout Techs., Inc., No. 20-cv-00076, 2024 WL 3579002, at *1 (N.D. Cal. July 11,

                                   5   2024); see Del Campo v. American Corrective Counseling Servs., Inc., No. C-01, 2007 WL

                                   6   3306496 (N.D. Cal. Nov. 6, 2007); Kadrey v. Meta Platforms, Inc., No. 23-cv-03417, 2024 WL

                                   7   4502099, at *2 (N.D. Cal. Oct. 15, 2024) (permitting Plaintiff to take twenty-five fact depositions

                                   8   in copyright dispute regarding generative AI). “A party seeking to exceed the presumptive

                                   9   number of depositions must make a particularized showing of the need for the additional

                                  10   discovery.” Authentec, 2008 WL 5120767, at *1.

                                  11           Plaintiffs argue they are entitled to sixty depositions because of “the number of corporate

                                  12   defendants, the technical nature of the infringement, and the vast scale of the alleged misconduct.”
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                                  13   ECF No. 257 at 1. They reason that taking sixty depositions, or fifteen per defendant, is

                                  14   reasonable given the scope of the case. Id. at 2. This will permit them to take twenty to twenty-

                                  15   five depositions of “core technical witnesses”, fifteen to twenty depositions of witnesses in

                                  16   corporate leadership roles (including “executive leadership, project managers, and strategic

                                  17   decision-makers”), and fifteen to twenty depositions of Defendants’ “business operations

                                  18   personnel.” Id. at 2-3. Defendants object, arguing that Plaintiffs’ request “lacks any particularized

                                  19   justification” and that Plaintiffs’ “proposed breakdown of total deponents…is arbitrary and

                                  20   untethered to any document, filing, or fact specific to any Defendant.” Id. at 4. They contend that

                                  21   most of the Defendant companies are “early-stage, lean startups” with relatively few employees,

                                  22   and permitting Plaintiffs to depose “extraneous employees” would result in duplicative testimony

                                  23   and pose a significant burden on Defendants. Id. at 4-5.

                                  24           The Court agrees with Plaintiffs’ overall position that exceeding the ten-deposition limit is

                                  25   warranted here given the “complexity of the case[,]” but is mindful of the potential burden on

                                  26   Defendants and the risk that allowing Plaintiffs sixty depositions would be unreasonably

                                  27   cumulative or duplicative. Sayce, 2024 WL 3579002, at *1; see Fed. R. Civ. P. 26(b). The Court

                                  28   finds it appropriate at this time to grant Plaintiffs leave to take thirty depositions, to be allocated at
                                                                                          16
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                                   1   Plaintiffs’ discretion. Plaintiffs may renew their request for additional depositions if they

                                   2   determine they are necessary after taking the first thirty depositions. The thirty-deposition limit

                                   3   does not include depositions of non-parties, expert witnesses, of former employees. This limit

                                   4   does not change the parties’ agreement regarding 30(b)(6) depositions at ¶ 22 of the Stipulated

                                   5   Order Entering Deposition Protocol. ECF No. 257-1 ¶ 22.

                                   6   V.       CONCLUSION
                                   7            Having resolved the disputes discussed above concerning the terms of the ESI protocol, the

                                   8   parties are ordered to incorporate the Court’s rulings from this Order into a final Stipulated and

                                   9   [Proposed] ESI Protocol, to be filed with the Court by March 31, 2025. Before March 31, 2025,

                                  10   the parties shall also meet and confer regarding the outstanding issues related to structured data

                                  11   and model data. If the parties are able to reach an agreement to resolve these issues, they shall

                                  12   include the necessary provisions in the final Stipulated and [Proposed] ESI Protocol. If parties are
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                                  13   unable to reach an agreement they shall file by April 7, 2025 a joint discovery letter concerning

                                  14   their respective proposals, following the procedure in Section F.5 of the undersigned’s Standing

                                  15   Order.

                                  16            The parties shall file a Stipulated Protective Order, consistent with this Order, by March

                                  17   31, 2025.

                                  18   IT IS SO ORDERED.

                                  19   Dated: 3/19/2025

                                  20

                                  21
                                                                                                     LISA J. CISNEROS
                                  22                                                                 United States Magistrate Judge
                                  23

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                                  26
                                  27

                                  28
                                                                                         17
